              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                    BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:12cr006-3


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                  vs.                     )     ORDER
                                          )
                                          )
AMBER DAWN KEEL.                          )
                                          )

      THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 60].

      For cause shown, the Court will grant the Government’s motion.

      IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 60] is GRANTED, and the Bill of Indictment [Doc. 1] filed in the

above-captioned case is hereby DISMISSED WITHOUT PREJUDICE with

respect to the Defendant Amber Dawn Keel only.

      IT IS SO ORDERED.

                                      Signed: May 21, 2012




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